
—Appeal No. 1.  Motion for leave to appeal to the Court of Appeals from the order of this court, entered April 3, 1941, modifying an order *850of the Supreme Court, entered April 30, 1940, which denied defendant’s motion to vacate an ex parte order of sequestration and modified such order, granted. The following question is certified: Upon this record was the order appealed from properly made? Appeal No. 2.  Motion for leave to appeal to the Court of Appeals from the order of this court, entered April 3, 1941, modifying an order of the Supreme Court, entered May 28, 1940, which directed the entry of judgment against the defendant, pursuant to section 1171-b, Civil Practice Act, withdrawn by the moving party. Present —■ Lazansky, P. J., Hagarty, Carswell, Adel and Taylor, JJ.
